AO 245D (WDNC Rev. 4/04) Judgment in a Criminal Case for Revocation


                                    UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                                                       (For Revocation of Probation or Supervised Release)
         V.                                                            (For Offenses Committed On or After November 1, 1987)


IRECAS RAYSHION VALENTINE                                              Case Num ber: DNCW 599CR000011-008
                                                                       USM Num ber: 14819-058

                                                                       Erin Taylor
                                                                       Defendant’s Attorney


THE DEFENDANT:

X        adm itted guilt to violation of condition(s) 1, 2, 3, 4, 6 & 7 of the term of supervision.
         W as found in violation of condition(s) count(s)            After denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):


                                                                                               Date Violation
 Violation Num ber               Nature of Violation                                           Concluded

 1                               New law violation                                             10/5/09

 2                               Failure to report contact with law enforcem ent officer       10/8/09

 3                               Unauthorized travel                                           10/5/09

 4                               Drug/alcohol use                                              8/27/09

 6                               Failure to m aintain lawful em ploym ent and failure to       7/24/08
                                 report change in em ploym ent

 7                               Association with a convicted felon                            10/9/08



       The Defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

X        Governm ent dism isses violation no. 5.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.

                                                                       Date of Im position of Sentence: February 9, 2010
                                                                           Signed: February 16, 2010




              Case 5:99-cr-00011-KDB-DCK                    Document 464          Filed 02/17/10         Page 1 of 2
AO 245D (WDNC Rev. 4/04) Judgment in a Criminal Case for Revocation



Defendant: IRECAS RAYSHION VALENTINE                                                                  Judgm ent-Page 2 of 2
Case Num ber: DNCW 599CR000011-008

                                                           IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
term of EIGHT (8) MONTHS.

NO SUPERVISED RELEASE IS TO FOLLOW TERM OF IM PRISONM ENT.

 X       The Court m akes the following recom m endations to the Bureau of Prisons:

         That defendant be designated to a facility as close to Charlotte, NC, as possible.

 X       The Defendant is rem anded to the custody of the United States Marshal.

         The Defendant shall surrender to the United States Marshal for this District:

                           As notified by the United States Marshal.

                            At___a.m . / p.m . on ___.

         The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                           As notified by the United States Marshal.

                            Before 2 p.m . on ___.

                           As notified by the Probation Office.

                                                               RETURN

         I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.


                                                       ___________________________________________
                                                       United States Marshal


                                              By:      _______________________________________
                                                       Deputy Marshal




              Case 5:99-cr-00011-KDB-DCK                    Document 464     Filed 02/17/10      Page 2 of 2
